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     4       KATIE J. FELDER, ETC

     5

     6           VS.

     7

     8        JASON KING, ET AL

     9

     10

     11

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     13

     14    ROUGH DRAFT OF DEPOSITION OF

     15

     16     RICHARD N. ERNEST, B.S.

     17

     18     TAKEN OCTOBER 7,2010

     19

     20

     21

     22

     23

     24

     25
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J                                                                   Lathrop Decl. Ex. 3



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              32,33,35,41,42,43,44,45,46,47 and 48, we're

          2 objecting as prejudicial and as cumulative.

          3           MR. BEHRENBRINKER: Okay. And then been

          4 Plaintiffs Exhibits numbers 37, 38 and 39 by

          5 agreement and stipulation are admitted into evidence.

          6           MR. SKARDA: That's correct.

          7           MR. BEHRENBRINKER: And just so the

          8 record is clear, Plaintiffs Exhibit Number 49 is also

          9 admitted into evidence?

         10            MR. SKARDA: That's correct.

         11           MR. BEHRENBRINKER: Okay. All right.

         12 BY MR. BEHRENBRINKER:

         13       Q    Could you please state your full name for

         14 the record, sir?

         15       A    Richard Neal Ernest. Nealis N E A L,

         16 and Ernest is ERN EST.

         17      'Q. Okay.

         18           MR. SKARDA: Was he sworn?

         19           MR. BEHRENBRINKER: Yes.

         20           MR. SKARDA: Oh, I'm sorry.

         21           THE REPORTER: It's been while awhile.

         22 BY MR. BEHRENBRINKER:

         23      Q     Mr. Ernest, is your occupation that of a

         24 forensics ballistic consultant and laboratory

        25 director?
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              1 the trajectory by positioning the reconstruction dummy

              2 in a position that could recreate that type of a

              3 trajectory or direction?

              4       A     Yes, sir, that's correct.

             5        Q     Okay. And does that reinforce your

             6 conclusion that it just -- the testimony of Defendant

             7 Loonsfoot and King,these three photographs that we've

             8 been talking about, their version just could not

             g possibly have happened that way?

             10        A     Yes, sir, that is correct. This is --

             11 this is -- this is portraying what you would have to

             12 have to actually get those trajectories.

             13        Q     Okay.

             14       A     As is seen at autopsy and seen in his

             15 clothing.

             16             But it stands in stark contrast to the

             17 statements that were given by the officers in this

             18 incident.

             19       Q      Okay.

             20            I'm showing you what's been marked as

            21    Plaintiff's Exhibit 39. This is the report of the

            22 examination of physical evidence by the Minnesota

            23 Bureau of Criminal Apprehension.

            24             Have you seen that report, sir?

            25        A     Yes, sir, I have.
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              Q    And can you explain to the Jury what that

      2 is?

      3       A . Well, It is in fact a report of the DNA

      4 analysis of the various items of evidence. And one of

      5 these, this In particular is the swabbings from the

      6 firearm.

      7       Q    Okay.

      8       A    This would be the 45 caliber Hand K

      9 pistol as fired by Officer King.

     10       Q    Okay. I want to show you Plaintiffs

     11   Exhibit numbers 37 and 38. Have you seen those

     12 before?

     13       A    Yes, sir, I have.

     14       Q    Okay. And can you explain to the Jury

     15 what those depict?

     16       A    Yes, sir. They--

     17       Q    You can show those--

     18       A    Okay.

     19       Q     -- publish those to the JUrY.

     20       A    Well, these -- these photographs, which

     21 were prepared by the Minneapolis PO crime lab, these

     22 show the areas where various DNA was found and the

     23 results of that

    24        Q    Okay. Do they -- does that phot09raph

    25 depict, according to the report, depict all of the
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           1 areas on Officer King's gun where there was swab to go

           2 try to detect DNA?

           3       A   Yes, sir.

           4       Q    Okay.

           5       A   This is where the swabs were taken.

           6       Q    Okay. And those are all in the left side

           7 of the gun?

           8      .A   Yes, sir.

           9       Q    I mean, if you're right-handed hoiding

          10 the gun, the swabbing would have been on the ieft

          11 side, is that correct?

          12       A    Yes, sir. As the right-handed shooter

          13 wouid hold a gun, this is with it pointed away from

          14 the shooter, this is on the left-hand side of the gun.

          15       Q    And Officer King was ieft-handed or

          16 right-handed, is that your understanding?

          17       A    That's my understanding.

          18       Q    Okay.

          19       A    Also 38 would show the magazine for that

          20 particular pistol. This magazine, for those that are

          21   not familiar with such things, this magazine would

          22 then fit into a slot or opening here in the handle of

          23 the gun. There's a magazine weld that this fits up

         24 into once you have loaded rounds of ammunition into

         25 the magazine, then the magazine is inserted into the




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          pistol grip area. And once that is in place, the

      2 weapon can be --a live round could be chamber better

      3 and the pistol could be fired when you release the

      4 safety.

      5       Q    All right. Now, in your review of   .

      6 Officer King and Loonsfoot's testimony from their

      7 depositions, do you recall whether Defendant King

      8 testified that he struck Mr. Felder with the butt of

      9 his gun?

     10       A    Yes, sir. That's my recollection, that

     11   he -- that he struck him In the back olthe head.

     12       Q     How many times?

     13       A    Twice, I -- if my recollection is

     14 correct.

     15       Q     Okay.

     16       A    He hit him hard twice.

     17       Q    Okay. Would you, based on your

     18 experience, would you reasonably expect an officer who

     19 was hitting Mr. Felder on the back of the head with

     20 the butt of his gun to leave a mark on the head?

     21       A    Yes. He should have impact marks on the

     22 back of his head --

     23            MR. SKARDA: Objection, beyond the scope

     24 of the expert report.

     25       Q    I'll ask you hypothetically, based on
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          your years of experience and your review of the

      2 autopsy report, is there any -- any mention in the

      3 autopsy report of there being any marks on the back

      4 Mr. Felder's head?

      5       A   No, sir, there's not.

     6        Q    In your review of Mr. Felder's 45

     7 handgun, was there any DNA found -- of Mr. Felder's

     8 found on the butt of the 45?

     9        A   On the-- no, no, not on the bottom of the

     10 magazine.

     11       Q    Okay. is that something that you would

     12 expect, given the sworn testimony of the officer?

     13           MR. SKARDA: Objection, beyond the scope

     14 of the expert report.

     15       A    It is what I would expect.

     16       Q    That-·

     17       A    That there would be •• Felder's DNA

     18 should be there on the butt if that's what was used to

     19 strike him.

     20       Q    Was Felder's, according to that report,

    21 was Mr. Felder's DNA found anywhere on the gun?

    22        A   Yes, in some of the areas marked here on

    23 the left-hand side, Felder's DNA was found in those

    24 areas.

    25        Q    Can you identify from the report where
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          Mr. Felder's DNA was found?

      2      A     That might take me a minute.

      3      Q     Okay.

      4           (Short Pause).

      5           THE WITNESS: Would you mind taking a

      6 little break?

      7           MR. BEHRENBRiNKER: Sure.

      8           THEWITNESS: This will take me more time

      9 than I thought.

     10           THE VIDEOGRAPHER: Offthe'record at

     11   1223.

     12           (Whereupon a short recess was taken.)

     13           THE VIDEOGRAPHER: On the record at

     14 12:27.

     15           THE WITNESS: Okay. So in reviewing this

     16 and in going over the report in reference to the

     17 pictures of the firearm: Then Dominic Felder's DNA

     18 was not found on the -- either the bottom of the grip

     19 swabs or the bottom of the magazine swabs, nothing

     20 down in that area.

     21           Mr. Felder's DNA was not seen from the

    22 rear sight.

    23            His DNA, Domino's DNA was found to be a

    24 partial contributor to the trigger guard, to the

    25 equipment rails and to the side of the slide, and also
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      1 the front sight.

      2            These are the areas -- these are the

      3 areas on the pistol where there were positive results

     4 for Dominic Felder, front sight, the side of the

      5 slide, that's front sight, side of the slide.

      6            Also from this equipment rail here' and

      7 also partially on the trigger guard area (indicating).

     8        Q     Okay. Now, is there any reference in the

     9 autopsy report that there were any marks or any

     10 evidence on the back of Mr. Felder's head to suggest

     11 that he had been hit hard with the butt of the gun?

     12       A     No.

     13       Q.    Okay. Would you -- I'm showing you

     14 what's been previously marked as Plaintiffs Exhibit

     15 33,31 and 32. Have you seen those before? Excuse

     16 me.

     17       A     Yes, sir, I have. Exhibit 33 -- these

     18 are not POB to be published, correct?

     19       Q     That's correct. Unless--

     20            MR. SKARDA: We style have the objection

     21   to those three exhibits.

    22             MR. BEHRENBRINKER: Yes, okay.

     23            THEWITNESS: 33 is a photograph of the

    24 back of the head of Dominic Felder

    25 BY MR. BEHRENBRINKER:
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              Q    What does it show?

      2       A    Plaintiff's Exhibit 33 shows -- ildoes

      3 show a mark at the back of the left ear, and it also

      4 partially shows another couple of marks over on the

      5 left-hand side of the face.

      6       Q   All right. Any marks on the back of the

      7 head?

      8      A    None \hat I can see in this photo.

      9      Q    Okay. I want to ask you hypothetically,

     10 if an individual you is holding a 45 caliber handgun

     11 like that and he's right-handed and he's facing an

     12 individual, and he were to hit that person on the--

     13 on that person's right side of their face, would that?

     14       A    Left-hand side of the face.

     15       Q    On the --no, the person's-Ieft side of

     16 their face, you're right. Yeah.

     17           Right-handed facing the person, hits them

     18 on the left side of the face, what side of the gun is

     19 going to contact that person's face?

     20       A   The left-hand side of that gun.

     21       Q    Okay. And if you hit the person hard

     22 enough with the left side of that gun, is it probable

     23 that DNA could be left on the weapon?

     24       A   That's -- that's very reasonable to

     25 assume.
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               Q    Okay. Is it probable based on your

       2 experience?

       3       A    I won't say that I have that much'

      4 experience with DNA analysis. But as far as

      5 transferring blood material, skin, that kind of thing,

      6 it's very reasonable to assume that if you -- if you

      7 slap somebody up beside the head with a pistol that

      8 you're going to have transfer of that DNA from the

      9 person over to that side of the piston.

      10       Q    Okay. Now, in this case, Officer

      11   Loonsfoot testified at his deposition that Officer

      12 King hit Dominic Felder several times with his gun,

     13 correct?

     14        A    Yes.

     15        Q    And Officer King is right-handed?

     16        A    Yes, that's what I've been led to

     17 believe.

     18        Q    And the DNA swabs were taken from the

     19 left side of Officer King's gun?

     20       A    Yes, sir, that's correct.

     21        Q    And the left side of Mr. Felder's face

     22 has contusions and wounds, correct?

     23       A    Yes, sir.

     24            MR. BEHRENBRINKER: Okay. I have nothing

     25 further.
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               A    Yes.

      2        Q    Item B, is it correct that that indicates

      3 laceration in the webbing of the left, first and

      4 second fingers?

      5        A    Yes, sir. That's true. And i've seen

      6 the photo of that down in this area (indicating).

      7            And what I'm saying to you is, you

      8 mentioned the front sight. That would -- that would

      9 be away from the front sight area. And it also would

      10 be down below where there would be any damage from the

      11 slide.

      12       Q    There was in fact a laceration, though,

     13 correct?
     14        A    Oh, yes.

     15        Q    Yes.

     16        A    There's some sort of cut.

     17        Q    And there was -- Mr. Felder's DNA was on

     18 the front sight, too, isn't that correct?
     19        A . That's true.

     20        Q    The photos that were introduced into

     21    evidence of you showing the trajectories on the

     22 dummies, on the forensics dummies, are. you familiar

     23 with those?

     24        A   Which ones are you --

     25        Q    Just in general, ail the photographs?
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      1       A    Yes.

      2       Q    Did you ever test the officers' version

      3 of the incident with an individual or a dummy that was

      4 in a dynamic situation that was moving around?

      5       A    In essence, yes. That -- we're trying to

      6 go through every possible permutation of this incident

      7 to see what is likely and what's not likely; what's

      8 possible and what's not possible,

      9           And we did not lock onto a particular

     10 version of an event without seriously considering

     11 everything that we had at our disposal, the reports,

     12 the clothing, the gun shot holes through the clothing,

     13 the path of the wounds through the body.

     14           All of those were taken into

     15 consideration whenever we tried to show a photograph

     16 of a particular trajectory.

     17       Q    When you wrote your report, your opinions

     18 were based on all of the available evidence, correct?

     19       A    Correct.

     20       Q    In your report you didn't mention any of

     21 the DNA 'evidence or the lacerations to his hand, isn't

     22 that correct?

     23       A    Is the DNA not -- it's 38.

     24       Q    You had the DNA notes, but you didn't

     25 mention them in the text of your report, isn't that
